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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 16-24687-CIV-WILLIAMS/SIMONTON

  EDGARDO LEBRON,

         Plaintiff,

  v.

  ROYAL CARIBBEAN CRUISES,
  LTD.,

        Defendant.
  ________________________/

                          ORDER FOLLOWING DISCOVERY HEARING

         This matter came before the Court for an informal Discovery Hearing pursuant to

  Plaintiff’s Re-Notice of Hearing, ECF No. [32]. The Honorable Kathleen M. Williams, the

  United States District Judge assigned to this case, has referred all discovery matters to

  the undersigned Magistrate Judge, ECF No. [16]. On July 13, 2017, the undersigned held

  a hearing on the Parties’ discovery disputes. This Order memorializes the rulings made

  by the undersigned at that hearing.

         I.      BACKGROUND

         This personal injury action was initiated when Plaintiff Edgardo Lebron filed a

  Complaint against Defendant Royal Caribbean Cruises, Ltd., (“RCL”) alleging negligence

  related to injuries sustained by Plaintiff when he fell while ice skating aboard the

  Adventure of the Sea, a cruise ship operated by Defendant RCL, ECF No. [1].

         In its Answer, the Defendant has generally denied the substantive allegations in

  the Complaint and has raised several affirmative defenses including, comparative

  negligence and waiver of liability by the Plaintiff, ECF No. [6].
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         II.    DISCOVERY DISPUTES

                A.     Inspection of Ice Rink on Ship

         According to the Re-Notice of Hearing, the Plaintiff sought to have the Defendant

  compelled to permit the Plaintiff to inspect the ice rink area on the vessel Adventure of

  the Sea. At the hearing, Plaintiff contended that the Plaintiff wanted to inspect the rink

  where the incident occurred as well as the area where the ice skates are stored, for

  purposes of observing how the skates are stored and maintained. The Plaintiff also

  contended that the Plaintiff’s expert was likely to opine regarding the resurfacing and

  maintenance procedures of the ice, and therefore needed information regarding the

  machinery and chemicals used on the ice. Plaintiff stated that a visual inspection of the

  machinery would be adequate.

         The Defendant contended that the Plaintiff’s testimony during his deposition

  made it clear that the cause of his fall and the resulting injuries were not due to the

  condition of the ice in the skating rink, and therefore Defendant contended that an

  inspection of the rink was not necessary. Defendant further contended that the

  requested scope of the inspection was overbroad. Specifically, the Defendant contended

  that because the Plaintiff testified that it was only the laces on the skates that were

  defective, there was no need for the Plaintiff to inspect the entire area around the rink

  including the machinery used to maintain the ice. The Defendant also contended that at

  this point although the skates at issue were not segregated and therefore there was no

  way to know which exact pair of ice skates the Plaintiff was using during the incident,

  photos of the skates were taken at the time of the incident, which showed that the skates

  were new and not in disrepair. Defendant also argued that the ice has been resurfaced

  since the incident occurred and stated that the area used for the ice rink is also used for

  other ship-board activities.



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          The Court determined that the Plaintiff’s testimony regarding the cause of his fall

  on the ice was not as limited as suggested by the Defendant, and further noted that the

  Plaintiff is not an expert on causation of falls on ice. The Court therefore concluded that

  an inspection of the rink by Plaintiff’s expert was appropriate. Accordingly, the Court

  ordered that Plaintiff’s expert would be permitted to inspect the ice rink and the

  equipment used to maintain the ice rink. The Plaintiff is also permitted to conduct a

  visual inspection of the equipment and of any chemicals on site used in connection with

  maintenance of the ice rink or the skates. The rink shall be in its ice state when the

  inspection occurs. The undersigned examined the photo of the skates at issue, and

  found that it did not clearly show whether the skates were in disrepair. Therefore, the

  Plaintiff may also examine all skates in Defendant’s possession and the area where the

  skates are maintained. The inspection is limited to three hours. The inspection will

  occur at the home port of the ship in Puerto Rico. The inspection shall be completed on

  or before August 14, 2017, unless the Parties agree otherwise or the Court alters the

  date.

                 B.     Date for Corporate Deposition

          The second issue listed on the Re-Notice of Hearing pertained to the date for

  Defendant’s corporate representative’s deposition, ECF No. [32]. At the hearing,

  Defendant’s counsel explained that the corporate representative isn’t available until

  August 28, 2017, due to the pendency of other cases that are proceeding to trial. The

  Defendant also noted that the deposition of the representative had been noticed six

  weeks prior to the discovery hearing, by agreement, to occur on August 28, 2017.

          In response, Plaintiff explained that although the corporate representative

  deposition was previously set for August 28, 2017, because the expert report deadline

  date is set for the following week, the Plaintiff seeks to take the corporate representative



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  deposition earlier so that the Plaintiff’s expert will have time to review the deposition

  transcript prior to providing his report.

          The undersigned observed that the Plaintiff waited until only a few days before the

  hearing to raise this issue even though the deposition had been noticed well in advance.

  The Court ruled that the Defendant shall use its best efforts to make the Defendant’s

  corporate representative available for deposition on or before August 23, 2017, if

  possible. If the representative is not available until August 28, 2017, the Defendant shall

  provide Plaintiff’s counsel with details regarding why he is not available at an earlier

  date.

          III.     CONCLUSION

          Accordingly, it is

          ORDERED AND ADJUDGED that on or before August 14, 2017, the Defendant

  shall make the ice rink, equipment and skates aboard the Adventure of the Sea available

  for inspection as set forth above in this Order. It is further

          ORDERED AND ADJUDGED that the Defendant shall use its best efforts to

  make the Defendant’s corporate representative available for deposition on or before

  August 23, 2017, if possible, as set forth above in this Order.

          DONE AND ORDERED in Chambers in Miami-Dade County, Florida, this 21st day

  of July, 2017.

                                              ____________________________________
                                              ANDREA M. SIMONTON
                                              UNITED STATES MAGISTRATE JUDGE
  Copies via CM/ECF to:
        All parties of record




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